          Case 2:13-md-02437-MMB Document 156 Filed 10/09/14 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: DOMESTIC DRYWALL                                       MDL No. 2437
 ANTITRUST LITIGATION
                                                               13-MD-2437
 THIS DOCUMENT RELATES TO:
 All Actions



                                                       ORDER

         And NOW, this 9th day of October 2014, for the reasons stated in the foregoing

memorandum, it is hereby ORDERED that Indirect Purchaser Plaintiffs’ Motion to Compel

Production of Defendant CertainTeed Gypsum, Inc.’s Antitrust Compliance Policies (ECF No.

138) is GRANTED. Defendant CertainTeed Gypsum, Inc. shall produce all such policies no

later than October 16, 2014.


                                                                  BY THE COURT:

                                                                  /s/ Michael M. Baylson
                                                                  __________________________
                                                                  Michael M. Baylson, U.S.D.J.




O:\13-MD-2437 - drywall\13-md-2437 - Order MTC Compliance Policy - 10.9.2014.docx
